USCA Case #22-3090   Document #1992269         Filed: 03/29/2023     Page 1 of 2
                                          U.S. Department of Justice

                                          Matthew M. Graves
                                          United States Attorney

                                          District of Columbia


                                          Judiciary Center
                                          601 D St., N.W.
                                          Washington, D.C. 20530



                                         March 29, 2023

Mark J. Langer, Clerk
United States Court of Appeals
for the District of Columbia Circuit
333 Constitution Avenue, N.W., Room 5423
Washington, D.C. 20001-2866

           Re:   United States v. Brandon Fellows, No. 22-3090

Dear Mr. Langer:

     We write regarding the status of the case.

     On March 27, the government moved for an extension of time, citing
in part the lack of transcript for the November 2, 2022, hearing where
the district court issued the oral ruling that appellant is appealing. At
the same time, the government ordered a copy of that transcript. That
transcript has now been prepared and posted on the district-court docket.

     On March 28, on its own motion, this Court suspended the briefing
schedule. The government understands that any briefing in this appeal
remains suspended pending further order of the Court.

                                         Sincerely,

                                         __/s/ Eric Hansford __________
                                         Eric Hansford
                                         Assistant United States Attorney
USCA Case #22-3090      Document #1992269   Filed: 03/29/2023   Page 2 of 2
cc (via first-class mail):

Brandon Fellows
No. 26140-509
United States Penitentiary Lewisburg
P.O. Box 1000
Lewisburg, PA 17837




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